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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT COURT OF PENNSYLVANIA

____________________________________________________
KOBE PINKNEY,                                       :
           Plaintiff                               :
                                                    :                   CIVIL ACTION
             v.                                    :
                                                    :
MEADVILLE, PENNSYLVANIA,                            :
            &                                         :
POLICE CHIEF MICHAEL J. TAUTIN,                      :
            &                                         :
PATROLMAN JARED FRUM,                                  :
            &                                         :
ALLEGHENY COLLEGE,                                   :
            &                                         :
SERGEANT WILLIAM MERCHBAKER,                          :
            &                                         :
FIRST ASSISTANT DISTRICT ATTORNEY PAULA DIGIACOMO :
            &                                         :
MEADVILLE TRIBUNE,                                  :
            &                                         :
COMMUNITY NEWSPAPER HOLDING, INC.,                   :
            &                                         :
KEITH GUSHARD,                                       :
                     Defendants,                     :

                              CERTIFICATE OF SERVICE

      I, Earl Raynor, hereby certify that the foregoing Amended Complaint was filed

electronically and is now available for viewing via the Court’s ECF system.

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                           Meadville Tribune
                           Community Holdings, Inc.
                           Kevin Gushard

Date:   10/03/2019

                                          Respectfully submitted:



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